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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 ARTEMUS GAYE,                                        )
                                                      )
                   Plaintiff,                         )
                                                      )   No.
 v.                                                   )
                                                      )   Judge
 CITY OF CHICAGO,                                     )
 EFRAIN CARRENO,                                      )   Magistrate Judge
 NESTOR PEREZ,                                        )
 EDWARD GARCIA,                                       )
 JOHN CRAIG,                                          )
                                                      )
                   Defendants.                        )


                                         COMPLAINT

       1. This is an action for money damages brought pursuant to 42 U.S.C. § 1983 and the

statutes and common law of the State of Illinois.

       2. Jurisdiction for Plaintiff’s federal claims is based on 28 U.S.C. §§ 1331 and 1343(a).

Jurisdiction for Plaintiff’s state claims is based on supplemental jurisdiction pursuant to 28

U.S.C. § 1367(a).

       3. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), in that the claims arose

in this district as alleged below.

                                             Parties

      4. Plaintiff Artemus Gaye is a part­time resident of Chicago.




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    5. Defendant­Officers Efrain Carreno, Star #17367, Nestor Perez, Star #14572, Edward

Garcia, Star #13694, John Craig, Star #7027, are duly appointed and sworn Chicago police

officers.

    6. At all times relevant to this Complaint, the Defendant­Officers were acting in the

course and scope of their employment, and under color of state law, ordinance and/or

regulation.

    7. The Defendant­Officers are sued in their individual capacity.

    8. Defendant City of Chicago is a municipal corporation, duly incorporated under the

laws of the State of Illinois, and is the employer and principal of the Defendant­Officer.s

                                             Facts

    9. On March 27, 2015, Plaintiff was at a local mechanic’s residence at or near 2057 East

99th Street in Chicago.

    10. Plaintiff was looking at a vehicle that his mother was considering purchasing from

the local mechanic.

    11. The vehicle needed repairs and was not safe to drive at the time.

    12. Some or all of the Defendant­Officers approached Plaintiff.

    13. At the time the Defendant­Officers approached, the local mechanic had gone into his

residence to retrieve a tool.

    14. At the time the Defendant­Officers approached, Plaintiff was in or near the vehicle

with the local mechanic’s young grandson.

    15. At the time the Defendant­Officers approached, Plaintiff was not in the driver’s seat

of the vehicle.



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   16. At the time the Defendant­Officers approached, Plaintiff did not have the keys to the

vehicle.

   17. At the time the Defendant­Officers approached, the vehicle was not running.

   18. At the time the Defendant­Officers approached, Plaintiff was not operating or in

control of the vehicle.

   19. At the time the Defendant­Officers approached, Plaintiff did not own the vehicle.

   20. Plaintiff produced his valid Pennsylvania driver’s license for the Defendant­Officers.

   21. At the time the Defendant­Officers approached, there was no probable cause that

Plaintiff had committed, was committing or was about to commit a crime.

   22. At the time the Defendant­Officers approached, there was no basis to arrest Plaintiff.

   23. Nevertheless, some or all of the Defendant­Officers arrested Plaintiff.

   24. The Defendant­Officers charged Plaintiff with three misdemeanor crimes, driving on

a suspended license, failure to carry/display a driver’s license, and title/registration not

authorized on vehicle.

   25. The Defendant­Officers completed, signed and attested to arrest reports, other police

reports and tickets/criminal complaints, under oath, against Plaintiff, falsely charging Plaintiff

with these crimes.

   26. As a result of the arrest and criminal charges, Plaintiff spent approximately 5 hours in

custody at the scene and imprisoned at the police station.

   27. In addition, Plaintiff’s booking photo, arrest, and charges were published on

bailbondcity.com.

   28. In the same publication, Plaintiff was described as an inmate at Cook County Jail.



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    29. Plaintiff had to defend himself against the false criminal charges.

    30. The charges against Plaintiff were dismissed.

    31. Plaintiff, with his mother, also had to dispute the impoundment of the vehicle.

    32. The administrative matter regarding the impoundment was ultimately decided in

Plaintiff and his mother’s favor.

    33. As a direct and proximate result of the acts of the Defendants described above,

Plaintiff suffered damages, including loss of physical liberty, emotional distress, and damage

to reputation.

                                          COUNT I
                    42 U.S.C. § 1983 – False Arrest / Unreasonable Seizure

    34. Plaintiff realleges paragraphs 1 through 33 as if fully set forth herein.

    35. The Defendant­Officers placed Plaintiff under arrest.

    36. The Defendant­Officers seized Plaintiff.

    37. The Defendant­Officers did not have an arrest warrant, probable cause, or any other

legal justification to arrest Plaintiff.

    38. The arrest and/or seizure of Plaintiff without any legal justification or probable cause

violated his Fourth Amendment right, as guaranteed by the Fourteenth Amendment, to be free

from unreasonable seizure.

    WHEREFORE, Plaintiff asks that this Honorable Court:

       a)   Enter judgment against the Defendant­Officers,

       b)   Award Plaintiff compensatory and punitive damages,

       c)   Award attorneys’ fees and costs, and

       d)   Award any further relief that this Honorable Court deems just and equitable.


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                                       COUNT II
                   Indemnification Claim pursuant to 745 ILCS 10/9­102

   39. Plaintiff realleges paragraphs 1 through 38 as if fully set forth herein.

   40. Pursuant to the Illinois Tort Immunity Act, 745 ILCS 10/9­102, Defendant City of

Chicago is liable for any judgments for compensatory damages in this case arising from the

Defendant­Officers’ actions.

   WHEREFORE, Plaintiff asks that this Honorable Court order Defendant City of Chicago

to indemnify the Defendant­Officers for any judgment for compensatory damages and

attorneys’ fees in this case arising from his actions.


  41.    Jury trial demanded.

                                                Respectfully submitted,

                                               /s/ Amanda S. Yarusso
                                                Counsel for Plaintiff

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